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Dear Honorable District Judge Boulware, , La

I am the daughter of Defendant Jacques Anton Lanier, who is in the process of coming before this
court to Withdraw Guilty Plea. The purpose of this correspondence is to provide the court with a brief
explanation for past issues, history and synopsis of the Ineffective Assistance that my father has
endured from defense counsel(s) which is why my father has had to have several different attorneys
appointed to the current criminal case. The court only knows what it see in black and white without
having the true details.

Your honor, my father is fighting a very complex case with many moving components and
unfortunately The CJA has appointed my father several attorneys whom has not taken my fathers case
nor His life with competency and with the highest regard and when my father had previously
complained and informed the court of counsel(s) Ineffectiveness, the court on many occasions,
castigated my father and placed the blame on my father as if He was the reason for the length of time
the case has been on the Docket, counsel(s) negligence and/or Ineffectiveness; not once has the court
held counsel(s) accountable for their actions. According to my father, Ms. Rasmussen has expressed
some concerns and questions regarding the lack of information; incomplete and brief defendant-client
file provided to her from Mr. Oram.

As former Magistrate Judge Ferenbach acknowledged in a previous hearing, “the defendant does not
get to pick nor choose counsel,” therefore my father has had no choice but to work with the counsel
provided by The CJA and it is rumored by other attorneys that most of the CJA counsel(s) are not that
great and are bombarded with criminal cases. Your Honor is well aware of the fact that Indigent clients
who are Black or Brown are less likely to receive aggressive and effective counsel which is the primary
cause for Mass Incarceration.

1. (1* Attorney). During my fathers first in-person visit with Attorney Jason Margolis, Mr.
Margolis commented to my father that “because of the fact that He (Margolis) has two minor
daughters, He found some of the discovery disturbing and that my father should have known
that He couldn't pay young females for sex regardless of how mature they look or how big there
tits were.” Mr. Margolis bias comment as well as other comments resulted in the filing of a
Motion to Withdraw.

2. (2™ Attorney). The first four months after Attorney Damion Sheets appointment, Attorney
Sheets had no conducted a single visit with my father, His office was not set up to receive
collect calls, my father would call Mr. Sheets from His own funds and Mr. Sheet's was never
available. My father than informed the court and the court scheduled a hearing regarding my
complaint. At the duration of the hearing it was Magistrate Judge Ferenbach's who made the
decision to remove Mr. Sheet's as counsel.

3. (3 Attorney). Because of Attorney Thomas Erickson's numerous of false promises, lack of
communication with my father and Mr. Errickson's intentions of trying my fathers case with an
attorney who had never tried a case, had no experience and had just recently became an
attorney, the client relationship became irreparable, my father and Mr. Errickson agreed with the
separation.

4. (4" Attorney). Attorney Nancy Lemke was an awesome attorney who was honest, no-nonsense,
straightforward and forth coming with the fact that she had taken on an extreme amount of

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Family court cases and could not give the criminal case the attention needed, therefore it was in
my fathers best interest that she withdraw as Co-counsel to Attorney Christopher Oram.

(5“ Attorney). Mr. Oram and Mr. Sgro had no other alternative but to request a Motion to
Withdraw in order to support my fathers request to Withdraw the Guilty plea. During Mr.
Oram's and Mr. Sgro's representation, Mr. Oram filed a Motion to Withdraw with Mr. Sgro
following suit citing that because of His close friendship with Mr. Oram, He believed that it
would cause a conflict of interest if He remain on the case. Because of the fact that Mr. Oram
was adamant with Magistrate Judge Ferenbach about not wanting to remain on the current case,
it is my belief that Magistrate Judge Ferenbach violated my fathers Sixth Amendment right to
Effective Assistance of Counsel by not granting Mr. Oram and Mr. Sgro's Motion to Withdraw.
Also during Mr. Oram's representation, my fathers case was in limbo for an entire year, and
throughout that year Mr. Oram not once conducted a visit with my father for trial preparation.
After the Change of Plea hearing my father received a voluminous amount of discovery, the
records of recorded attorney-client privileged calls by The Nevada Southern Detention Center
(NSDC) as well as a recanted statement from an Aileged Victim which counsel withheid from
my father until after The Change of Plea. Counsel also withheld the interview statements of the
Concerned Citizen(s) from my father as well as from the government.

(current Attorney). Since the appointment of Attorney Lisa Rasmussen, according to my father,
as of today's date, Ms. Rasmussen has made five false promises for an initial visitation with my
father for preparation for the filing of the Motion to Withdraw Guilty Plea, but to Ms.
Rasmussen's credit there was an attempt to visit with my father via video on April 10, 2024, the
visit was canceled due to technical difficulties with NSDC video system. Tentatively, there is a
contact visit between Ms. Rasmussen and my father scheduled for April 22, 2024. It has been
impossible for my father to communicate with Ms. Rasmussen because she hasn't been
available but after conducting some research into Ms Rasmussen's reputation, I do believe that
Ms. Rasmussen is going to be a great asset to my father. Since the inception of the criminal
case, the court has provided my father with two defense counsel because of the complexity of
the case, Ms. Rasmussen informed my father that Attorney Karen Connolly is in agreement with
being appointed as Co-counsel if warranted.

Your Honor, I have been very supportive of my father, I have attended almost every hearing, even
during COVID, I appeared via telephonic and I have been amazed at how the court can be so bias and
treat the defendant as if they are less than and have absolutely no say so in how there life is being
represented. My father was coerced by Mr. Sgro into accepting the Guilty Plea, therefore my fathers
decision was not voluntarily given. It is my prayer and desire that my father will now receive the fair
and impartial justice due to Him from this court and that this court will hold defense counsel
accountable for any negligence in their representation.

Your Honor, I humbly petition you to please review the attached copy of the statement read by my
father at The Change of Plea Hearing which is now Public Record.

Thank you,

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JaNyce J. Lanier
May 16, 2024

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Your Honor, I have My Bishop, Bishop Bronson, Chaplain Hodges as well as family and friends in
the audience that have been provided with material to read along with me in order to help them
understand Case Law and how justice is suppose to work in the judicial system. I would like to start by
citing Case Law from one of Your Honors own case UNITED STATES V. JAN ROUBEN
FUECHTENER; DECIDED June 15, 2018, some facts and/or subjects had to be reiterated so I ask
the court to have a little patience with me.

A defendant may withdraw a guilty plea after its acceptance but before sentencing if the
defendant shows “a fair and just reason for requesting the withdrawal.” “Fair and just reasons
for withdrawal include inadequate Rule 11 plea colloquies, newly discovered evidence,
intervening circumstances, or any other reason for withdrawing the plea that did not exist when
the defendant entered his plea. United States v. Mc Tiernan.

1.

The government alluded to new evidence in the Guilty Plea Agreement that had not been shared
nor discussed with me by my counsel prior to the Change of Piea Hearing which influenced my
decision in accepting the Guilty Plea. The noted Guilty Plea Agreement is unreasonable and
only benefited all of the parties except for me. In fact, it was later determined and discovered
after the Change Of Plea that counsel withheld requested evidence from me and the government
such a redacted statement from the Concerned Citizens nor would counsel provide the
Investigators authorization to provide me with a copy of the Concerned Citizens statements and
I'm the defendant in the case.

After having an hour and a half, long conversation with Investigator Jeffries on February 9,
2024, I am petitioning the court to allow Investigator Renshaw and Jeffries to testify, elaborate
as well as confirm my allegations of Counsels failure to adequately conduct a thorough pretrial
investigation or research, hindered Investigators interviews with the alleged victims and/or
witnesses that have now been lost; failure to adequately investigate particular evidence, which
all constitutes counsels failure to adequately prepare in general for trial. In the gallery today is a
potential witness for the defense whom the government has falsely portrayed as their potential
witness, counsel never instructed the investigators to interview this individual for trial even
after the Investigators were provided with the potential witness contact information whom the
investigator spoke with on at least one occasion. After the investigators had not heard from me
or counsel regarding further investigation in my case, Investigator Jeffries than Googled me and
found out that I had entered a Guilty Plea Agreement without being notified by counsel. Also
during this conversation it was determined that Mr. Judd had not been truthful about the
Investigators contacting the alleged victims. In fact, according to the Investigators they had
been waiting for approx., two months for instructions from counsel on how to proceed with in-
person interviews with the alleged victims for trial preparation without any response to their
emails from counsel. After The Change Of Plea had commenced, Ms. Jeffries made contact
with Allege Victim #5 and #8, On January 2, 2024, and as a result of their response to Ms.
Jeffries, I would have rejected The Guilty Plea and proceeded to trial. We have Allege victim
#3, on her own accord, provided Investigator Jeffries her personal contact information as well
as her work schedule for the purpose of an interview on behalf of the defense Allege Victim #5,
has been in The Clark County Detention Center for the past.several months and counsel has
neglected to have Ms. Jeffries do her job and go out and interview this individual. This
confirmed my fear that counsel was not going to be adequately prepared for trial coerced me
into accepting the guilty plea agreement. BOTH Investigators have conveyed to me that there
has always been a great lack of communication with counsel throughout this case.

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3. Your Honor when you hear these dates, please keep in mind that Calendar Call was less than
fourteen days. On December 29, 2023, the following day after the Change of Plea I immediately
notified counsel and the court of my desire to Withdraw The Guilty Plea. On January 02, 2024,
a voluminous amount of new discovery dated December 11 and 13 of 2023, was delivered to
me via NSDC legal mail following The Change Of Plea hearing which would have played a
vital roll in my decision of accepting the Guilty Plea Agreement. Counsel visited with me in-
person on two occasions between December 13, 2023 and December 27, 2023, which means
that counsel had ample amount of time to personally deliver the discovery to me at their last
two recent in-person visits.

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4. After my review of the new discovery and evidence, it was revealed that counsel ignored the

governments request of certain documents from counsel and that counsel had not effectively

started preparations for trial. Even after multiple request, Not one of the attorneys has ever set

down with me to review and discuss the discovery, the governments evidence and/or the alleged

victims statements. On January 8, 2024, I was instructed by Mr. Oram to file a Pro Se Motion

To Withdraw Guilty Plea, now before the court. Mr. Oram also stated that it is my

Constitutional Right to Withdraw my Guilty Plea and proceed to trial, this determination was

made prior to Mr. Judd conveying to me that it is rare that the court grants this request because

of the courts attempts to avoid a jury trial, it is my opinion that this should be Unconstitutional.

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Erroneous or inadequate legal advice may also constitute a fair and just reason for plea
withdrawal, even without a showing of prejudice, when the motion to withdraw is made
presentence—also United States v. McTiernan (citing United States v. Davis). The defendant has
the burden of demonstrating the existence of at least ONE of these conditions.

However, a defendant may demonstrate a fair and just reason for plea withdrawal by showing
that his counsel's gross mischaracterization” of the possible sentence “plausibly could have
motivated his decision to plead guilty.” NOTHING in Rule 11 requires the defendant to show
more in order to satisfy the “fair and just reason' standards.” In accordance to United States v.
Davis and United States v. Briggs.

1. I was misguided, manipulated and lied to by counsel. Counsel did not once discuss the
Sentencing Guideline Table with me. I was very adamant and precise with Attorney Judd and
Ms. Bondy that if there was a possibility that the points noted in The Guilty Plea and/or The
PSR points could contribute to me being housed in Maximum custody in The BOP which
would warrant me being designated to a USP, I would not accept the Guilty Plea Agreement
because of the threat and danger to my life and I will fight for my life and make the government
prove their case at trial. Attorney Judd assured me in the presence of Attorney Bondy that
because of the alleged offense being a non-violent crime, my custody level would not warrant
USP and I would be more than likely sent to a Medium Facility, Attorney Judd even reiterated
this message during a later conference call with Mr. Sgro and Mr. Oram and neither one of them
corrected him with this misleading misinformation which played a key roll in me accepting the
Guilty Plea Agreement. Mr. Judd also stated that at sentencing counsel would recommend the
RDAP Program and The First Step Act for additional time off of my sentence, after conducting
my own research, after the Change Of Plea, I found out that because of the nature of the alleged
offenses, I do not even qualify for the First Step Act. Your Honor these are all acts of
affirmative misrepresentation.

2. The Guilty Plea Agreement is an unreasonable offer, already calculating the defendant at an

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offense level of 44 (SHOW CHART) which is a life sentence in accordance to the Advisory
Guideline Range chart which this court is almost guaranteed to follow and will impose the
highest sentence within the Guilty Plea Agreement. I am months shy of being the age of 55,
therefore the unreasonable Guilty Plea Agreement from the government is still a life sentence
and it would be denying me of Allof my Appellate Rights which NONE of the attorneys
discussed with me prior to the Change of Plea hearing. I would have a better chance of a
possible win at trial or if there is a loss at trial, I'm still facing the same possible sentence of life
in prison. According to The Dept. of Justice, it's unreasonable guilty Pleas that is the major
factor and contributor of The Mass Incarceration of Black and Brown people in the Prison
system.

3. Counsel never discussed with me the low and high end ranges under the terms of the guilty plea
agreement, the sentencing guidelines, downward departures, variances or there purpose nor did
Counsel thoroughly review or discuss the discovery, the alleged victims statements or The
Guilty Plea Agreement with me line by line. The Guilty Piea Agreement does not avoid a
Sentencing Guideline Range of life (as The U.S. Attorney Frierson himself has alluded to the
media) and it's a numbers game and ties the courts hands which I believe is political and race
based. The government has stated that their intentions were to present additional evidence to
support other specific offense characteristics and enhancements at sentencing. There was an
agreement with counsel that I would have time to speak with my family regarding the terms of
the guilty Plea Agreement prior to the Change Of Plea. I was never in possession of the Guilty
Plea Agreement for review prior to the Change of Plea Hearing due to the fact that counsel
could not hand deliver the Guilty Plea Agreement and I was summons to court the following
morning without having received a copy of the Guilty Plea Agreement or being allowed to
speak with my family.

Now I will address the acts of being coerced into the Guilty Plea Agreement:

All of these attorneys with their creative minds as well as several other attorneys had already
convinced me prior to The Change Of Plea Hearing that this court has been bias and has not been fair
to me in its previous rulings, this court placated The Magistrates court erroneous rulings and had my
previous Motions been heard in front of any other Magistrate, this court would have ruled differently
and that this court has not provided me the justice that was due to me and I now understand why, I am
being used as a pawn and a crash dummy, the government has turned a case that wasn't a case and
turned it into a media case and no judge wants to be seen as a judge who is soft or lenient on an
accused sex offender in the public eye, therefore because of counsels assertions regarding this court
influenced my decision in accepting the Guilty Plea and because of counsels additional assertions and
instructions to Appeal the court decision if my request to Withdraw The Guilty Plea is denied led me to
believe that the Guilty Plea Agreement would be in my best interest, but what counsel failed to convey
to me is that Appeals aren't as cut and dry as counsel has portrayed them to be.

1. Although I stated in the hearing that I acknowledged Section XIV of the Guilty Plea
Agreement, it would be disingenuous of this court to deny the fact that during The Change Of
Plea hearing, there was extreme confusion between myself, counsel and the government
regarding specific “language” in The Guilty Plea and Your Honor “words matter” due to the
fact that the court would be basing their decision regarding sentencing according to the alleged
accusations. It was counsels responsibility to address and point out any and all inaccuracies,
falsities or misrepresentations by the government in The Guilty Plea Agreement, and there were
several inaccuracies, falsities or misrepresentations that I had to address during the Change Of
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Plea and yet I still pled guilty to offenses that I did not commit because of counsels negligence.
When I petitioned this court for a continuance so that I could further consult with counsel
regarding the multiple changes that was occurring in The Guilty Plea Agreement, the court
chose to push me through the Change Of Plea, appearing to be more concerned about how long
this case has been on the Docket, trial expenses and the governments resources If the hearing
would be continued, as If I'm some sort of commodity or less than instead of showing some
compassion and concern that a man is frivolously pleading to a possible sentence of life in
prison! I have no authority or control over counsels schedule, persistence or desire in
representing me therefore I should not be held accountable for counsels negligence. Your Honor
Iam a Child Of God, a parent and a human being just as you are

The entire process of The Change Of Plea was a rushed procedure by ALE parties, the
defendant did not fully comprehend the severity of the Guilty Plea Agreement, I felt pressured
and manipulated into accepting The Guilty Plea Agreement without fully understanding the
consequences of accepting The Guiity Plea Agreement or the Appellate rights that I would be
waiving. Because of the fact that I asked the court for a continuance, this court and counsel was
well aware that I had issues and struggled with the Guilty Plea Agreement and had not
thoroughly reviewed the Guilty Plea Agreement, this court did not honor my request for a
continuance in order to provide me an opportunity to further discuss the guilty plea. During the
Change Of Plea Hearing, Mr. Sgro repeatedly whispered in my ear during The Change Of Plea
hearing that “you're about to screw this up and we need to handle this here and now.” Mt.
Sgro's coercive and aggressive tactics was also over heard by Attorney Judd. This only added to
my state of mental confusion that I was already enduring at the time and made me believe that I
was making a mistake by accessing my right in challenging the government with their
inaccuracies, misrepresentations, falsities which also resulted in the defendant not correcting the
Record of other misrepresentation, inaccuracies and falsities by the government in The Guilty
Plea Agreement nor did I wish to anger nor frustrate the court and Your Honor I was canvassed
by the Court prior to the chaos, confusion and the coercive acts by Mr. Sgro in having me plead
guilty to several charges, therefore ALL of these acts now changed the trajectory of the Canvass
that; I read and understood the terms; that I had adequate time to discuss this case, the evidence,
and the agreement with counsel; that I carefully and thoroughly discussed all terms of the
agreement with counsel or I understood the terms of the agreement and voluntary agreed to the
terms. I later expressed to Mr. Judd that I felt as if Mr. Sgro was speaking to me as if I was a
child! Your Honor, Had I been in my right mind and allowed to make my own choices and
decisions, I don't believe that I would have ever pled guilty to an agreement which allows the
prosecutor so much power over the court, to dictate the latitude that Judge is allowed to impose
at sentencing and determine the trajectory of my life.

This court was also well aware of the fact that I was pleading guilty to charges that I had not
committed which I verbally expressed during the Change Of Plea hearing nor is there any
evidence to support the offense such as Alleged Victim #2. I later asked Mr. Judd, why did they
allow me to plead guilty to crimes that they knew I had not committed and Mr. Judd's reply was
that "they just wanted to get the life sentence off of the table," but technically according to the
information that U.S. Attorney Frierson provided the media, the very next morning after The
Change Of Plea, I plead guilty to a life sentence as well as several other offenses that I in fact
did not plead guilty to such as Child Pornography, threatening witnesses, paying for sex with
money and drugs. May I remind the court that U.S. Attorney Frierson is the same Supervisor
that had to approve the prosecutors negotiations with the defense, therefore may be the Guilty
Plea Agreement was so outrageous and unreasonable because U.S. Attorney Frierson, himself is
NOW,

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not familiar with the terms of the negotiations that He approved. Your Honor, even after several
request to counsel for the identity of Alleged Victim # 13, as of today's date I still have no
knowledge of the true identity of this individual nor has counsel discussed nor provided me
with any discovery regarding Alleged Victim # 13, yet counsel allowed me to plead guilty for an
offense of a person who may be unknown to me. It's clear and evident that Mr. Sgro and Mr.
Judd was not concerned that their client was pleading guilty to offenses noted in The Guilty
Plea Agreement that I unequivocally did not commit. Mr. Sgro's focus and concerns were more
about me not pissing Your Honor off as Mr. Judd conveyed to me! This is not about your
Honors feelings, this is about a mans life, my life, and me making a detrimental decision and an
honest mistake at the ill-advise of counsel. How could this court be comfortable with this form
of representation and bias treatment? During The Change Of Plea, the government was
threatening me through counsel by stating that if I did not plead guilty to the charge of
Tampering a recorded call between myself and Pam would be introduced at sentencing.

I will address Counseis ineffectiveness: :

. This court is aware that on December 2, 2022, Mr. Oram filed a Motion To Withdraw and Mr.

Sgro, followed suit with filing a Motion To withdraw stating that because of His close
friendship with Mr. Oram for over twenty years, he believed that for Him to continue
representing me would declare a Conflict of Interest. Also during this hearing Mr. Oram was
adamant with the Magistrate court that He wanted to be removed from the case, the Magistrate
court openly castigated Mr. Oram for this case being stalled for one whole year without any
movement yet the Magistrate court denied Mr. Oram's Motion To Withdraw which I believed
than and now that this is a violation of my Sixth Amendment Right which should be respected
and honored by this court. I have had the opportunity to meet with the two trial attorneys on
ONLY one separate occasion in-person within three years. It was also noted in my Motion To
Dismiss Counsel that the attorney-client relationship and/or communications had became
irreparable and irreconcilable. Counsel(s) performance and/or decisions had not been in my best
interest and I had lost all faith, trust and confidence in Counsel(s) representation. After Counsels
denial of their Motion To Withdraw, Mr. Sgro and Mr. Oram became basically non-existent and
all of my interactions has mostly been with Ms. Bondy up until September of 2023, when Mr.
Judd began working for Sgro & Rogers, than all of my interactions were with Mr. Judd who
was assigned to the case at the 11" hour. Ms. Bondy and Mr. Judd has ONLY been practicing
law for approx., five years and neither one of these attorneys have had trial experience with a
case of this magnitude or multiple moving components which would make these two attorneys
either inexperienced or unqualified for this particular case. Ms. Bondy and Mr. Judd have stated
to me in different conversation that "practically no work had been conducted on this case" or
"more could have been done on the case" prior to their office being appointed. This case has
been tossed around between several attorneys. AS MAGISTRATE JUDGE FERENBACH
PREVIOUSLY STATED, I DO NOT GET TO PICK NOR CHOOSE WHO THE COURT
APPOINTS AS COUNSEL THEREFORE, I HAVE TO DEAL WITH THE HAND THAT
I GET BUT YOUR HONOR, THIS TOTALLY CONTRADICTS THE SIXTH
AMENDMENT.

I've also addressed my concerns with Mr. Sgro's staff that I believe that Mr. Sgro has no respect
for my life nor regard for a Black Mans life due to the fact that Mr. Sgro's Office is closed on
any other federal holiday except for Martin Luther King Day. Mr. Oram's office was closed
yesterday for Presidents Day. (racist).
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3. Counsel neglected to advise me or warn me about The Fifth Amendment Right and the
advantage of pleading the Fifth in The Change Of Plea. Also during the Change Of plea
Hearing the court asked the government if I had been offered any other Guilty Plea Agreement
and the government response was /’NO," Your Honor this response was false, in fact just a few
days prior to the current Guilty Plea Agreement the government made an identical offer except
for the maximum sentence was fifty years instead of forty-five years which I declined and
according to counsel the government had agreed to change certain language in The Guilty Plea
which the government had not, this was addressed during the Change Of Plea hearing and than
changed, had I not caught this discrepancy and error, once again counsels negligence would
have allowed me to overlook and agree to other false misstatements and offenses. The
government also had agreed to remove the forfeiture of $1,032.00, cash.. It was counsels failure
to challenge factual basis and to correct the Record regarding the governments misstatement.

Your Honor, simply put, I was under duress and counsel is in receipt of my mental health transcripts.
Because of the fact that I was off of my prescribed medication, Trazadone which assist with mental
concentration and train of thoughts, was also a contributor to me not completely understanding the
canvass questions, combined with the constant ill-advis eand being craftily manipulated by counsel,
coerced me into accepting the unreasonable Guilty Plea. I did not voluntary accept the Guilty Plea and
for this court to not allow me to withdraw my guilty plea, strong arm me and continue in forcing me
into pleading guilty to crimes that I did not commit would be disingenuous and would not be justice.
My most recent conversation with Investigator Jeffries and the new information provided bolstered my
decision to want to proceed to trial and exhaust my Constitutional Right. Because of the fact that the
government possibly has knowledge of the defense trial strategy and/or access to attorney-client
privileged communication, I have already experienced and endured extreme impartial justice from this
judicial system which is often the case when the defendants are Indigent, Black or brown, there is “NO
Justice, it's Just US!” There is most definitely a two-tier justice system.

NOW LET'S ADDRESS ME BEING CANVASS WHICH NATURALLY THE COURT IS
GOING TO INSINUATE AND ALLEGE THAT BECAUSE OF ME ANSWERING YES WHEN
CANVASSED I UNDERSTOOD THE TERMS OF THE GUILTY PLEA AGREEMENT BUT AS
I ALREADY ADDRESSED MY RESPONSE WAS NOT VOLUNTARY, BECAUSE
INEFFECTIVE ASSISTANCE OF COUNSEL, ERRONEOUS INFORMATION AND
MISGUIDED ADVICE. THANK YOU YOUR HONOR

